Case 1:O4-cr-00127-RCT Document 151 Filed 01/13/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

)
UNITED STATES OF AMERICA, )
)
Plaintit", ) Case No. CR-O4-127-S-RCT
)
v. )
) ORDER
DAVID ROLAND H[NKSON, )
\
Defendant. )
)

 

The Court has reviewed in camera the PSIR regarding Chad Croner. The
Court orders the Government to produce in redacted from the portions highlighted
in yellow by the Government and one additional selection, the portion of
paragraph no. 84 Which the Court has highlighted in orange. The Governrnent
shall disclose a copy of the redacted report to the Defendant. The Government

shall file under Seal With the Clerk (1) a complete, unaltered copy of the report;

ORDER - 1

Case 1:O4-cr-00127-RCT Document 151 Filed 01/13/05 Page 2 of 2

and (2) a copy of the redacted versionl
IT IS SO ORDERED.
DATED this 13th day ofJanuary, 2005, at Boise Idaho

QAMQ F@<:_

Rl (leARD C. TALLMAN
United States Circuit Judge
Sitting by designation

ORDER - 2

